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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


  MATTHEW LAROSIERE,

                       Plaintiff,

  v.                                                    Case No.: 6:24-cv-1629-WWB-LHP

  CODY RUTLEDGE WILSON, DEFCAD,
  INC., DEFENSE DISTRIBUTED and
  DIOSKOUROI LLC,

                       Defendants.
                                           /

                                           ORDER

         THIS CAUSE is before the Court on Defendants’ Motion to Dismiss (Doc. 48).

  Therein, Defendants argue that Counts 5 and 6 of the First Amended Complaint (Doc.

  43) should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure

  to state a claim and that all claims against Defendant Dioskouroi LLC should be dismissed

  pursuant to Federal Rule of Civil Procedure 12(b)(2) for lack of personal jurisdiction.

         Pursuant to Rule 12(b), motions asserting any of the defenses listed in Rule

  12(b)(1) through (7) “must be made before pleading if a responsive pleading is allowed.”

  Fed. R. Civ. P. 12(b). Once an answer to a complaint is filed, any Rule 12(b) motion to

  dismiss is rendered a nullity. Leonard v. Enter. Rent a Car, 279 F.3d 967, 971 n.6 (11th

  Cir. 2002) (“After answering the complaint, the defendants filed Rule 12(b)(6) motions to

  dismiss the plaintiffs’ claims. Under Rule 12(b), these motions were a nullity; by filing an

  answer, the defendants had eschewed the option of asserting by motion that the

  complaint failed to state a claim for relief.”); see also Doolin v. Borg Warner Corp., No.

  3:16-cv-778-J, 2017 WL 10841697, at *1–2 (M.D. Fla. Oct. 17, 2017).
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        Defendants have filed a Second Amended Answer with Counterclaims (Doc. 52).

  to Plaintiff’s First Amended Complaint. Therefore, any motion to dismiss pursuant to Rule

  12(b) is improper. Accordingly, it is ORDERED and ADJUDGED that Defendants’ Motion

  to Dismiss (Doc. 48) is DENIED as moot.

        DONE AND ORDERED in Orlando, Florida on April 15, 2025.




  Copies furnished to:

  Counsel of Record




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